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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 NATIONAL TREASURY
 EMPLOYEES UNION, et al.,
                Plaintiffs,
      v.

 RUSSELL VOUGHT, in his official capacity             Case No. 25-cv-0381-ABJ
 as Acting Director of the Consumer Financial
 Protection Bureau, et al.,

                       Defendants.


                             DECLARATION OF EMORY DOE

        I, Emory Doe, declare as follows:

        1.     I have supervision over the Escalated Case Management team at the CFPB. The

statements made in this declaration are based on my personal knowledge.

        2.     I am submitting this declaration pseudonymously because I fear retaliation. But if

the Court would like to know my name and position, I am willing to provide it ex parte and under

seal.

        3.     On February 10, 2025, Acting Director Russell Vought sent an agency-wide email,

instructing all employees to “stand down from performing any work task.” That directive had no

exception for statutorily mandated functions. Accordingly, neither I, nor any member of the

Escalated Case Management Team, has performed any work since that order.

        4.     I read the supplemental declaration of Chief Operating Officer Adam Martinez,

filed today, March 2, 2025. Mr. Martinez testified that, “as of February 27, 2025, members of the

Escalated Case Management team, for example, are working.” That is false.

        5.     No member of the Escalated Case Management has performed any work since at

least the February 10th stop-work order. Neither I, nor any member of the Escalated Case


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Management team, was asked (or authorized) to work on February 27th, or any date before or after

that. To confirm my understanding, I contacted each member of the Escalated Case Management

team, all of whom confirmed that they remained unauthorized to work. I also checked my email

inbox, as well as the shared team inbox, and neither contains any directive or authorization for the

Escalated Case Management team to resume working.

       6.      The Escalated Case Management (ECM) team serves as a single point of contact

for executives and other colleagues across the Bureau who are contacted directly by consumers

regarding consumer complaint-related issues. These issues are referred to ECM in accordance with

instructions published on the Bureau’s intranet, and ECM responds to consumers on the Bureau’s

behalf, with ad hoc guidance from the team’s chain of command or Legal Division, as needed. The

team also handles requests from the Consumer Resource Center (CRC or call center) to evaluate

disability accommodation requests that the CRC could not resolve itself. In most cases, ECM

provides guidance to the CRC for handling the request, while in other instances ECM handles the

necessary consumer follow up directly. Additionally, ECM team members review foreclosure-

related complaints when the consumer has entered an imminent foreclosure date in the appropriate

field during the complaint submission process.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

Executed on March 2, 2025, in Washington, D.C.

                                                             /s/ Emory Doe
                                                             Emory Doe




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